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 4

 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    LAURA ZAMORA JORDAN, as her
      separate estate, and on behalf of others       NO. 2:14-CV-0175-TOR
 8    similarly situated,
                                                     ORDER GRANTING FINAL
 9                              Plaintiff,           APPROVAL OF CLASS ACTION
                                                     SETTLEMENT AND GRANTING
10          v.                                       MOTION FOR AWARD OF
                                                     ATTORNEYS’ FEES, COSTS AND
11    NATIONSTAR MORTGAGE, LLC, a                    SERVICE AWARD
      Delaware limited liability company,
12
                                Defendant,
13
            and
14
      FEDERAL HOUSING FINANCE
15    AGENCY,

16                             Intervenor.
17         BEFORE THE COURT are Plaintiff’s Motion for Final Approval of Class

18   Action Settlement (ECF No. 388) and Motion for Award of Attorney’s Fees, Costs

19   and Service Award (ECF No. 376), the Special Master’s Request for Approval of

20   Payment of Fees and Costs (ECF No. 383) and Nationstar’s Joinder in Plaintiff’s

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 1   Motion for Final Approval of Settlement (ECF No. 393). These matters were

 2   heard with oral argument on March 21, 2019, for the purpose of determining the

 3   fairness of the proposed terms of the class action settlement and the requested fees

 4   and costs. The Court has reviewed the record and files herein, and is fully

 5   informed. For the reasons discussed below, Plaintiffs’ Motion for Final Approval

 6   of Class Action Settlement (ECF No. 388) and Nationstar’s Joinder (ECF No. 393)

 7   are GRANTED, Plaintiff’s Motion for Award of Attorney’s Fees, Costs and

 8   Service Award (ECF No. 376) is GRANTED, and the Special Master’s Request

 9   for Approval of Fees and Costs (ECF No. 383) is GRANTED.

10                                    BACKGROUND

11         This case arises from actions taken by Defendant Nationstar Mortgage LLC

12   affecting Washington homeowners’ residential properties in default. ECF No. 2-4.

13   In her Second Amended Complaint, Plaintiff and Class Representative Laura

14   Zamora Jordan (“Ms. Jordan”) asserted the following causes of action: trespass;

15   intentional trespass, RCW 4.24.630; violation of the Consumer Protection Act

16   (CPA), RCW 19.86 et seq.; and breach of contract. ECF No. 2-19 at 10-16. The

17   Chelan County Superior Court certified the class under Washington Civil Rule 23

18   on May 19, 2014. ECF No. 1-3 (Ex. C). Thereafter, Defendant removed the action

19   to this Court and moved to decertify the class. ECF Nos. 1; 119. This Court

20   denied Defendant’s motion and certified the following class:

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 1         All persons who own or owned real property in Washington subject to
           a deed of trust or a mortgage serviced or held by Nationstar, whose
 2         property Nationstar or its agents deemed vacant prior to the
           completion of a foreclosure sale and between April 3, 2008 and July
 3         31, 2016.

 4   ECF No. 207 at 25.

 5         On November 25, 2017, Ms. Jordan moved for partial summary judgment on

 6   liability. ECF No. 217. The Court granted partial summary judgment as to

 7   liability for common law trespass and CPA violations for all class members who

 8   had their properties rekeyed prior to foreclosure. ECF No. 262.

 9         The parties entered into mediation on November 27, 2017, with the

10   assistance of Louis D. Peterson of Hillis Clark Martin & Peterson P.S. ECF No.

11   361 at ¶ 7. The parties did not reach a settlement during mediation, but continued

12   negotiations with Mr. Peterson’s assistance. Id. The parties reached an agreement

13   in principle just before trial was set to commence on December 18, 2017, but were

14   unable to reach a final agreement on several settlement terms. Id. at ¶ 8. The

15   Court set a new trial date of July 30, 2018. Id. at ¶ 9.

16         The parties had filed trial briefs and were set to start trial when they once

17   again reached a settlement, this time including final agreement on the remaining

18   disputed settlement terms. Id. The parties then sought preliminary approval of

19   their class action settlement and moved the Court to schedule a final fairness

20   hearing. ECF No. 360. On November 26, 2018, the Court granted the motion for

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 1   preliminary approval and scheduled a final fairness hearing for March 21, 2019.

 2   ECF No. 369.

 3                                       DISCUSSION

 4      I.      Approval of Class Action Settlement

 5           Approval of a proposed class action settlement is governed by Federal Rule

 6   of Civil Procedure 23(e). As Class Counsel observes, Rule 23 was recently

 7   amended to address issues related to settlement, and also to take account of issues

 8   that have emerged since the rule was last amended in 2003. ECF No. 388 at 11-12;

 9   see Fed. R. Civ. P. 23 advisory committee’s note to 2018 amendment. Particularly

10   relevant here, the 2018 amendment to Rule 23(e) establishes core factors district

11   courts must consider when evaluating a request to approve a proposed settlement.

12   As amended, Rule 23(e) now provides that the Court may approve a class action

13   settlement “only after a hearing and only on a finding that it is fair, reasonable, and

14   adequate after considering whether”:

15           (A) the class representatives and class counsel have adequately
                 represented the class;
16           (B) the proposal was negotiated at arm’s length;
             (C) the relief provided for the class is adequate, taking into account:
17                (i)     the costs, risks, and delay of trial and appeal;
                  (ii) the effectiveness of any proposed method of distributing
18                        relief to the class, including the method of processing
                          class-member claims;
19                (iii) the terms of any proposed award of attorney’s fees,
                          including timing of payment; and
20                (iv) any agreement required to be identified under Rule
                          23(e)(3); and
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 1         (D) the proposal treats class members equitably relative to each
               other.
 2
     Fed. R. Civ. P. 23(e)(2). The amendments took effect on December 1, 2018.
 3
           Under Rule 23(e), both its prior version and as amended, fairness,
 4
     reasonableness, and adequacy are the touchstones for approval of a class-action
 5
     settlement. Over the years, courts have generated lists of factors to analyze
 6
     whether a proposed settlement meets these requirements. In the Ninth Circuit, for
 7
     example, courts consider the eight Churchill factors when assessing the fairness of
 8
     a post-certification settlement. 1 Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 963
 9
     (9th Cir. 2009) (citation omitted); Churchill Vill., L.L.C., v. Gen. Elec., 361 F.3d
10

11   1     The Churchill factors include: (1) the strength of the plaintiffs’ case; (2) the
12   risk, expense, complexity, and likely duration of further litigation; (3) the risk of

13   maintaining class action status throughout the trial; (4) the amount offered in
14   settlement; (5) the extent of discovery completed, and the stage of the proceedings;
15   (6) the experience and views of counsel; (7) the presence of a governmental

16   participant; and (8) the reaction of the class members of the proposed settlement.

17   Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 963 (9th Cir. 2009) (citation
18   omitted); Churchill Vill., L.L.C., v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)).

19   Additionally, “the settlement may not be the product of collusion among the

20   negotiating parties.” Churchill, 361 F.3d at 576.

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 1   566, 575 (9th Cir. 2004)). The purpose of the amendment to Rule 23(e)(2) is

 2   establish a consistent set of approval factors to be applied uniformly in every

 3   circuit, without displacing the various lists of additional approval factors the circuit

 4   courts have created over the past several decades. As the Advisory Committee

 5   Notes explain, “[t]he goal of this amendment is not to displace any factor, but

 6   rather to focus the court and the lawyers on the core concerns of procedure and

 7   substance that should guide the decision whether to approve the proposal.” Fed. R.

 8   Civ. P. 23(e)(2) advisory committee’s note to 2018 amendment. While the Ninth

 9   Circuit has yet to address the amendment to Rule 23(e)(2), the Court observes that

10   the factors in amended Rule 23(e)(2) generally encompass the list of relevant

11   factors previously identified by the Ninth Circuit.

12         For reasons discussed below, the Court concludes that the Settlement

13   Agreement satisfies the requirements of amended Rule 23(e)(2).

14         A. Adequate Representation

15         First, the Court finds that Class Counsel and the Class Representative, Ms.

16   Jordan, have adequately represented the Class. As discussed in the Court’s

17   preliminary approval of the proposed settlement agreement, Class Counsel

18   engaged in extensive discovery while actively litigating this case over the past six

19   years. Class Counsel produced multiple sets of written discovery, took numerous

20   depositions, and engaged in significant expert work in preparation for trial. ECF

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 1   No. 361 at ¶¶ 3-5. Class Counsel’s work produced significant results for the Class,

 2   including class certification in state court, a favorable ruling by the Washington

 3   Supreme Court on questions certified by this Court, and various other rulings

 4   beneficial to the Class. Class Counsel survived dispositive motion practice and

 5   proceeded not only toward, but past, class certification. Moreover, Class

 6   Counsel’s work, professionalism and performance during the mediation process

 7   ultimately resulted in an excellent settlement for the Class.

 8         As Class Representative, Ms. Jordan has expended significant time and

 9   effort assisting class counsel in this case over the past six years. Ms. Jordan

10   participated in responding to discovery, she was deposed by Defendant, and she

11   prepared for both the December 2017 and July 2018 trials. ECF No. 362 at 2-3.

12   Notably, in 2013, Ms. Jordan rejected a settlement offer from Defendant of

13   $25,000 because it would have provided no relief to the Class. Id. at 3, ¶6.

14         Accordingly, the Court finds that Class Counsel and Ms. Jordan have been

15   diligent in their representation of the class.

16         B. Arm’s Length Negotiations

17         Regarding the negotiation process, the Court finds that the Settlement

18   Agreement is the result of an adversarial, non-collusive, and arms-length

19   negotiation. As discussed in the Court’s Preliminary Approval Order, the parties

20   initially entered into mediation on November 27, 2017, with the assistance of

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 1   Louis D. Peterson, who has substantial experience litigating and settling complex

 2   civil cases. ECF No. 361 at ¶ 7. Although they reached an agreed settlement, the

 3   parties were unable to agree on several settlement terms at that time. The parties

 4   resumed litigation, but continued settlement discussions. ECF No. 360 at 24. The

 5   parties had filed trial briefs and were set to start trial when they once again reached

 6   a settlement with Mr. Peterson’s assistance, this time including final agreement on

 7   the remaining disputed settlement terms. ECF No. 361 at ¶ 9. Thus, the

 8   Settlement Agreement was achieved under the supervision of a trusted third-party

 9   mediator following extensive settlement negotiations, which assures the Court that

10   the negotiations were conduct at arm’s-length and without collusion among the

11   parties. Accordingly, the Court finds no signs of conflicts of interest, collusion, or

12   bad faith in the parties’ settlement negotiation process.

13         C. Adequate Relief

14         The Court concludes that the relief provided for the Class is adequate. First,

15   the amount offered in settlement and the proposed payment to class members

16   appears fair. The Settlement Agreement requires Defendants to pay $17,000,000

17   into the non-reversionary Settlement Fund. ECF No. 361-1 at 5, III. ¶ 1 (Ex. 1).

18   Class counsel estimates that class members will receive awards ranging between

19   $75 and $52,165.34. ECF Nos. 361 at ¶ 18; 388 at 15. In view of the substantial

20

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 1   amount offered in settlement and the estimated range of awards, the Court

 2   concludes that the settlement amount is fair and reasonable.

 3         The Court also finds that the expected relief for Class Members is adequate

 4   considering the four factors listed in Rule 23(e)(2)(C). As noted, amended Rule

 5   23(e)(2)(C) identifies four discrete subtopics that courts should always consider

 6   when assessing the adequacy of relief provided for a class. The Court discusses

 7   each subtopic below.

 8          (i)   Costs, risks, and delay of trial and appeal

 9         Given the circumstances of this case, it is difficult to predict the precise

10   range and likelihood of class-wide recovery had this case proceeded to a litigated

11   outcome. While the Court granted partial summary judgment in Plaintiff’s favor

12   on her claims for trespass and CPA violations, Defendant maintains that the

13   measure of damages and individual class members’ entitlement to any relief

14   remained hotly disputed. ECF No. 393 at 3. Specifically, had the case proceeded

15   to trial, Defendant was prepared to show that Plaintiff’s expert’s methodology for

16   calculating damages was fundamentally flawed and Class Members were only be

17   entitled to a fraction of the damages Plaintiff claimed for them. Id. at 5-6. Given

18   the uncertainty of recovery, the Court agrees with Class Counsel that the

19   $17,000,000 settlement, which provides between $75 and $52,165.34 to each Class

20   Member, is an excellent result for the Class.

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 1         Moreover, regardless of the result at trial, a lengthy and expensive trial and

 2   appeals process would be expected in this case. Defendant confirms that at the

 3   time the parties reached the proposed settlement, it remained prepared to appeal

 4   any significant award of damages on numerous grounds, including liability, the

 5   propriety of adjudicating liability and damages on a class-wide basis, and the

 6   measure of damages. Id. at 7; ECF No. 364 at 6. It is certainly possible that the

 7   outcome of an appeal would result in no recovery or substantially reduced damages

 8   for Class Members. The risk, complexity, and expenses involved in this litigation

 9   are further reflected in the many motions briefed by the parties.

10         As an additional consideration, Class Counsel note that a federal district

11   court recently decertified and dismissed a similar class action after years of

12   litigation. See Bund v. Safeguard Properties, Inc., 2018 WL 5112642 (W.D.

13   Wash. Oct. 19, 2018). Prior to dismissing the case, the court ruled that a property

14   preservation vendor hired by Nationstar could not be held liable for CPA violations

15   predating the Washington Supreme Court’s decision in Jordan. ECF No. 388 at

16   17-18; see Bund v. Safeguard Properties LLC, 2018 WL 4008039 (W.D. Wash.

17   Aug. 20, 2018). The decision is currently on appeal. At minimum, the decision

18   reflects the inherent risks facing the Class in pursuing this consumer class action

19   and the very real potential for recovering little or nothing if this case proceeded

20   through trial and appeal.

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 1          (ii)   Effectiveness of proposed method of distributing relief to the class

 2         The Settlement Agreement provides a straightforward process for

 3   distributing the Settlement Fund to Class Members. Under the terms of the

 4   agreement, Defendant will deposit $17,000,000, less the Class Administrator’s

 5   fees, into the Settlement Fund. ECF No. 361-1 at 5, ¶¶ 1-2. Rather than requiring

 6   Class Members to submit claims as a condition of recovery, settlement award

 7   checks will be mailed to all Settlement Class Members for whom the Class

 8   Administrator has a deliverable address. Id. at 5, ¶ 4. Settlement award checks

 9   will be valid for 90 days from the date on the check. Id. Generally speaking, the

10   Court determines that the proposed method of distribution should equitably and

11   effectively distribute relief to the Class.

12         The Court notes that, as of May 6, 2019, 419 mailed Notices have been

13   returned to the Class Administrator without any additional address information,

14   meaning they “are ultimately undeliverable.” ECF No. 389 at 5. The Settlement

15   Award payments previously allocated to the 419 Class Members with no

16   deliverable address amounts to over $1,325,000. Id. Pursuant to the Settlement

17   Agreement, this balance will be distributed amongst the Class Members with a

18   deliverable address. This means that the settlement awards will be slightly higher

19   than the estimated awards listed in the notices mailed to those Class Members. Id.

20

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 1         While the Court is fully satisfied with the proposed distribution plan, there is

 2   the issue of 262 Settlement Class Members who filed for bankruptcy. Their claims

 3   were analyzed by a Court appointed Special Master to determine whether unused

 4   exemptions would ultimately allow the debtor to receive the settlement amount or

 5   whether the settlement amount is economically substantial enough that the

 6   Bankruptcy Courts (e.g., the U.S. Trustees) should be notified so that it may be

 7   administered through those Courts to the creditors and debtor. The Special Master

 8   divided the 262 bankruptcy involved class members into seven categories,

 9   identified on Exhibits B - G of his report. ECF Nos. 381, 384.

10         The Court then provided notice to the eighteen (18) United States Trustees

11   for the Bankruptcy Courts where those 262 cases were filed. ECF No. 385. The

12   United States Trustees filed a response outlining their statutory duties and

13   authority. ECF No. 392. Given the parameters of their authority and using the

14   Special Master’s categorization of the bankruptcy cases, the United States Trustees

15   indicated that they would not move to reopen the cases listed in Categories B, C,

16   D, and H. Id.; ECF No. 381, 384. Consistent with the Court’s prior Order, ECF

17   No. 385 at 6-7, the Court finds that Categories B and C members have sufficient

18   unused exemptions to cover the entire settlement award, or expect less than

19   approximately $5,000 net proceeds after any unused exemptions are applied, and it

20   would not be economically feasible for the bankruptcy courts to administer those

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 1   funds. The Court finds that the Category H members’ chapter 13 cases were

 2   dismissed, so the settlement proceeds belong to those debtors. The Court finds that

 3   the Category D members’ bankruptcy cases involved 100% distribution to

 4   creditors, so the settlement proceeds would belong to those debtors. Similarly, the

 5   Court directs that the five closed chapter 11 and 13 cases in Category E be

 6   distributed to those five debtor class members (Iola Newhart, Vaughn Jensen,

 7   Larry Bethel, Estate of Elizabeth Short, and Gerock Vestman).

 8         The United States Trustees sought additional time to move to reopen and to

 9   appoint trustees to evaluate the proposed settlements in the remaining Category E

10   cases. Also, the United States Trustees sought proper notice and an opportunity for

11   the trustees to be heard in the open cases in Categories F and G. The Court

12   directed that notice be provided to these trustees and allowed until April 30, 2019

13   for the trustees to “opt-out . . . or object to the Settlement” and to “indicate

14   whether they ratify the Settlement and direct that the settlement award be sent to

15   the bankruptcy court for administration and disbursement.” ECF No. 400 at 5-6.

16   The Court finds that adequate notice has now been provided to the bankruptcy

17   trustees (ECF Nos. 400, 402 and reservice, 403 and reservice) and the U.S.

18   Trustees (ECF No. 385).

19         Bankruptcy trustee Dennis Lee Burman expressly ratified the settlement for

20   the benefit of debtors Thomas M. Grennan (and Jennifer D. Grennan) (ECF No.

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 1   396) and James Moonen (ECF No. 398) and directed that their settlement funds be

 2   sent directly to them. The bankruptcy trustees only sought payment of the

 3   settlement proceeds into the bankruptcy proceedings for eleven (11) other class

 4   members’ that are listed below. Accordingly, the Court directs that all remaining

 5   settlement awards for the bankruptcy class members in categories E, F, and G, be

 6   sent directly to the debtors as these awards have not been timely claimed by the

 7   trustees.

 8         (iii)   Terms of any proposed award of attorney’s fees

 9         The Court discusses at length the proposed award of attorney’s fees in Part II

10   of this Order. To avoid needless repetition, the Court briefly summarizes its

11   findings here. Class Counsel seek attorneys’ fees of $4,250,000 for over six years

12   of work on a contingency basis, which equals the Ninth Circuit’s 25% benchmark

13   for common fund cases. ECF No. 376. The fees will be paid out of the Settlement

14   Fund and will be paid only after the Settlement is finally approved by the Court,

15   the time for any appeal has elapsed, or any appeal has been resolved, and the

16   Settlement has taken effect. ECF No. 388 at 19. After payment of the proposed

17   attorneys’ fees and costs, more than $12,000,000 of the Settlement Fund will be

18   distributed directly to the Class. Id. at 7. Considering the proposed attorneys’

19   fees, including the timing of payment, the Court finds that the relief actually

20   delivered to the Class is fair and reasonable.

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 1         (iv)   Any agreement required to be identified under Rule 23(e)(3)

 2         The Court has not been advised of any side agreements made in connection

 3   with the proposed settlement pursuant to Rule 23(e)(3). Thus, there is nothing for

 4   the Court to consider.

 5         D. The Settlement Agreement Treats Class Members Equitably

 6         The Court finds that the apportionment of relief among Class Members takes

 7   appropriate account of differences among their claims. Here, Class Counsel

 8   estimates that Class Members will receive awards ranging between $75 and

 9   $52,165.34. ECF No. 361 at ¶ 18. The variation in awards primarily turns on the

10   relative strength or weakness of the evidence supporting each class member’s

11   claim for damages, the amount of time individual Class Members were allegedly

12   excluded from their properties as a result of a lock change, and variances in the fair

13   market rental value of Class Members’ homes. ECF No. 388 at 21.

14         The $75 award will be paid to class members who do not have evidence of a

15   lock change or of property preservation measures involving entry onto the class

16   member’s property. ECF Nos. 361-1 at 5, III. ¶ 3 (Ex. 1); 360 at 26; 388 at 20-21.

17   Class members with evidence of a lock change will receive a pro rata payment

18   based on the rental value damages calculated by Plaintiff’s expert. ECF Nos. 361-

19   1 at 5, III. ¶ 3 (Ex. 1); 388 at 20-21. The average estimated award for Class

20   Members with evidence of a lock change is $3,589.92. ECF Nos. 361 at ¶ 18; 388

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 1   at 21. According to Class Counsel, at least 2,595 Class Members will be entitled

 2   to payments that exceed $1,000. ECF No. 388 at 21. In the Court’s view, the

 3   differences in treatment of Class members, including the apportionment of relief

 4   and the variance in individual settlement awards, are fair and equitable in light of

 5   the differences in the values and facts of the Class Members’ underlying claims.

 6         Further, as of March 6, 2019, there had only been one objection to the

 7   Settlement Agreement and four exclusion requests, despite the comprehensive and

 8   wide-reaching notice plan. ECF Nos. 388 at 22; 389 at 6-7. The Court finds the

 9   notice program was reasonably calculated to provide actual notice to class

10   members, and was fully adequate and effective; it reached over 92% of all Class

11   Members and fully satisfies due process and applicable law. ECF No. 388 at 24-

12   25. No one appeared at the March 21, 2019 final fairness hearing to object to the

13   settlement. These numbers suggest to the Court that the vast majority of the

14   notified Class—over 99.9%—find the terms of the proposed settlement

15   unobjectionable and agree to be bound by the Settlement Agreement. Based on the

16   evident benefit of obtaining relief through the class action mechanism for

17   numerous Class Members, as opposed to requiring them to bring individual claims,

18   the favorable reaction of Class Members to the Settlement Agreement, and the

19   apparent willingness of Defendants to pay a class settlement in order to obtain

20

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 1   finality, the Court concludes that the Settlement Agreement treats Class Members

 2   equitably relative to each other.

 3            The one objection to the Settlement Agreement is based on the amount that a

 4   class member who does not have evidence of a lock change would receive, $75.

 5   The objector suggested everyone should share in the settlement pro rata, without

 6   consideration of the value of the property or the length of lockout period. ECF No.

 7   389-6. The objector alleges she was locked out after a Sheriff’s foreclosure sale

 8   and that she lost certain personal property. However, this class action does not

 9   concern lost personal property. The Court otherwise finds the objector’s proposal

10   to be a fundamentally unfair method of valuation and overrules her objection.

11            In sum, the Court determines that the proposed Settlement is fair,

12   reasonable, and adequate. Class Counsel and Ms. Jordan have sufficiently

13   represented the Class, the Settlement Agreement was negotiated at arm’s length,

14   the relief provided to the Class is adequate, and the Settlement Agreement treats

15   Class Members equitably relative to each other and their claims.

16      II.      Attorneys’ Fees and Costs

17            Plaintiff seeks final approval of an award of attorneys’ fees to Class

18   Counsel pursuant to Federal Rules of Civil Procedure 23(h) and 54(d)(2) in the

19   total combined amount of $4,250,000, plus reimbursement of litigation costs of

20

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 1   $208,245, to be paid from the $17,000,000 settlement fund. ECF No. 376 at 8, 13.

 2   The requested fees represent 25% of the gross settlement amount. Id. at 8.

 3         Federal Rule of Civil Procedure 54(d)(2) specifies that requests for

 4   attorney’s fees and costs shall be made by motion “unless the substantive law

 5   requires those fees to be proved at trial as an element of damages,” but the rule

 6   does not itself authorize the awarding of fees. Fed. R. Civ. P. 54(d)(2). Federal

 7   Rule of Civil Procedure 23(h) provides that, “[i]n a certified class action, the court

 8   may award reasonable attorney’s fees and nontaxable costs that are authorized by

 9   law or by the parties’ agreement.” Fed. R. Civ. P. 23(h). “While attorneys’ fees

10   and costs may be awarded in a certified class action where so authorized by law or

11   the parties’ agreement, courts have an independent obligation to ensure that the

12   award, like the settlement itself, is reasonable, even if the parties already agreed to

13   an amount.” In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 941 (9th

14   Cir. 2011) (citation omitted). An attorney is entitled to “recover as part of the

15   award of attorney’s fees those out-of-pocket expenses that would normally be

16   charged to a fee paying client.” Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir.

17   1994) (quotation and citation omitted).

18         A. Attorneys’ Fees

19         “Where a settlement produces a common fund for the benefit of the entire

20   class,” as in this case, district courts have discretion to employ either the lodestar

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 1   method or the percentage-of-the-fund method to determine the reasonableness of

 2   an award of attorneys’ fees. In re Bluetooth Headset, 654 F.3d at 942; Vizcaino v.

 3   Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002). However, in diversity

 4   actions such as this one, the Ninth Circuit applies state law to determine the right

 5   to fees and the method for calculating them. Mangold v. California Pub. Utilities

 6   Comm’n, 67 F.3d 1470, 1478 (9th Cir. 1995). Under Washington law, the

 7   percentage-of-the-fund method is used to calculate class action attorneys’ fees in

 8   common fund cases. Vizcaino, 290 F.3d at 1047; Bowles v. Dep’t of Ret. Sys., 121

 9   Wash.2d 52, 72 (1993) (holding that in common fund cases, “the size of the

10   recovery constitutes a suitable measure of the attorneys’ performance.”). Because

11   Class Counsel’s efforts created a $17,000,000 common fund for the benefit of the

12   Class, the Court finds that the percentage method is appropriate in this case.

13         The Ninth Circuit has established 25% of the settlement fund as the

14   “benchmark” award for reasonable attorneys’ fees in common fund cases.

15   Vizcaino, 290 F.3d at 1047; Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1376

16   (9th Cir. 1993) (citing Six Mexican Workers v. Ariz. Citrus Growers, 904 F.2d

17   1301, 1311 (9th Cir. 1990)). However, the 25% benchmark rate is only the

18   “starting point for analysis.” Vizcaino, 290 F.3d at 1048. “Selection of the

19   benchmark or any other rate must be supported by findings that take into account

20

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 1   all of the circumstances of the case.” Id. Specifically, in arriving at a particular

 2   percentage, courts must consider not only the size of the fund, but also:

 3         the extent to which class counsel achieved exceptional results for the class,
           whether the case was risky for class counsel, whether counsel’s performance
 4         generated benefits beyond the cash settlement fund, the market rate for the
           particular field of law (in some circumstances), the burdens class counsel
 5         experienced while litigating the case …, and whether the case was handled
           on a contingency basis.
 6

 7   In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 954-55 (9th Cir. 2015)

 8   (quoting Vizcaino, 290 F.3d at 1048-50) (quotations omitted).

 9         Here, Class Counsel seek 25% of the non-revisionary common fund

10   generated for the benefit of the Class, which is the benchmark fee award. ECF No.

11   376 at 8. After reviewing the record and surrounding circumstances, the Court

12   determines that Class Counsel’s percentage of recovery fee request is reasonable.

13             1. Results Achieved and Risk of Litigation

14         Class Counsel achieved exceptional results for the Class. In a common fund

15   case, “the size of the recovery constitutes a suitable measure of the attorneys’

16   performance.” Bowles, 121 Wash.2d at 72. Here, the Settlement Agreement

17   requires Defendant to pay $17,000,000 into the non-reversionary Settlement Fund

18   to compensate Class Members for lock changes and property preservation

19   measures performed at their homes by Defendant. In addition to the size of the

20   award, the settlement constitutes an excellent result for Class Members because

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 1   Class Counsel pursued this case in the absence of supporting precedents and

 2   against Defendants’ vigorous opposition over more than six years of litigation.

 3          Also, Class Counsel took a significant risk in pursuing this case. Class

 4   Counsel represented Plaintiff and the Class on a contingent basis, investing over

 5   6,000 hours of work into the case and advancing substantial sums to cover

 6   litigation costs for more than six years. ECF No. 376 at 17. Significantly, when

 7   Class Counsel initially took this case, there was no Washington appellate court

 8   decision specifically holding that a homeowner may recover damages for a lock

 9   change or other property preservation measures performed prior to foreclosure. Id.

10   at 8. The high risk Class Counsel faced is also shown by the vigorous defense of

11   the case by Nationstar, and several law firms, for several years.

12          Accordingly, the Court finds that Plaintiffs and Class Counsel’s recovery of

13   $17,000,000 constitutes an exceptional result for the Class given these obstacles

14   and the risks of litigation.

15             2. Counsel’s Performance and Burdens

16          Class Counsel litigated this case with great skill and performed high quality

17   work, as reflected in the results obtained. Class Counsel has demonstrated their

18   diligence in this action and their experience in litigating class action cases. See

19   ECF Nos. 376 at 19-20; 377 at 11-14, 18-20; 378 at 2-5; 379 at 2-3. Over the past

20   six years, this case has been vigorously litigated not only in this Court, but also in

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 1   the Chelan County Superior Court, the Washington Court of Appeals, the U.S.

 2   Court of Appeals for the Ninth Circuit, and the Washington Supreme Court. Class

 3   Counsel conducted substantial discovery and investigation regarding class

 4   certification and the merits of the case. Class Counsel prevailed in many key

 5   moments in the course of litigation, achieving favorable results for the Class

 6   through their skill and experience. As noted above, Class Counsel’s representation

 7   of the Class—on a purely contingency basis—extended over six years, entailed

 8   hundreds of thousands of dollars of expense, and posed a significant financial

 9   burden on Class Counsel. These factors weigh in favor of granting the requested

10   fee.

11             3. Market Rate

12          The Ninth Circuit has rejected the requirement that a court should determine

13   a reasonable fee by attempting to replicate the market rate. Vizcaino, 290 F.3d at

14   1049. “[I]n most cases it may be more appropriate to examine lawyers’ reasonable

15   expectations, which are based on the circumstances of the case and the range of fee

16   awards out of common funds of comparable size.” Id. at 1050.

17          Here, Plaintiffs emphasize that Washington courts routinely award

18   attorneys’ fees of more than 25% of the common fund in consumer class actions.

19   ECF No. 376 at 20-21. And, Class Counsel’s requested award is at the Ninth

20

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 1   Circuit benchmark for common fund cases. These factors also weigh in favor of

 2   granting the requested attorneys’ fees.

 3         B. Lodestar Cross-Check

 4         District courts often use the lodestar method as a cross-check on the

 5   reasonableness of the percentage award. Vizcaino, 290 F.3d at 1050. The lodestar

 6   method involves multiplying the number of hours reasonably expended on the

 7   claim or motion by a reasonable hourly rate. Camacho v. Bridgeport Fin., Inc.,

 8   523 F.3d 973, 978 (9th Cir. 2008); Scott Fetzer Co. v. Weeks, 122 Wash.2d 141,

 9   149-50 (1993). The calculation of reasonable hours and hourly rate is entrusted to

10   the discretion of the court applying the principles set forth in Hensley v. Eckerhart,

11   in light of the court’s first-hand contact with the litigation and attorneys involved.

12   Costa v. Comm’r of Soc. Sec. Admin., 690 F.3d 1132, 1135 (9th Cir. 2012).

13              1. Hours Expended

14         When determining the reasonableness of the hours expended, a court should

15   not consider hours that are “excessive, redundant, or otherwise unnecessary.”

16   Hensley, 461 U.S. at 434. Here, Class Counsel spent 6,445.03 total hours on this

17   litigation, which excludes the time spent preparing the final approval motion

18   papers and attending the final approval hearing. See ECF Nos. 377 at 119; 378 at

19   14; 379 at 45. Class Counsel have provided the Court with their detailed billing

20   records, which show the work performed by each attorney and staff member

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 1   included in Class Counsel’s lodestar calculation. ECF No. 376 at 22. Based on the

 2   thoroughness of the billing records, the advanced stage of this litigation, and the

 3   complex issues litigated up to this point, the Court finds nothing in the record to

 4   suggest that any of the hours claimed should be disallowed.

 5             2. Hourly Rate

 6         When determining the reasonableness of the attorney’s proposed hourly rate,

 7   the court looks to hourly rates prevailing in the relevant legal community for

 8   similar work performed by attorneys of comparable skill, experience, and

 9   reputation. Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011) (citation

10   omitted). A reasonable hourly rate should account for factors such as the

11   attorney’s customary hourly billing rate, the level of skill required by the litigation,

12   the time limitations imposed on the litigation, the amount of potential recovery, the

13   attorney’s reputation, and the undesirability of the case. Bowers v. Transamerica

14   Title Ins. Co., 100 Wash.2d 581, 597 (1983).

15         Here, the hourly rates charged by Class Counsel range from $75 for legal

16   secretaries to $390 for senior partners. ECF No. 376 at 24. The Court, based on its

17   independent review as well as its review of the supporting documents submitted by

18   Plaintiff, finds the rates billed by Class Counsel are commensurate with the

19   prevailing rates for similar representation in the relevant market. See Ingram, 647

20   F.3d at 928 (holding that a district court may rely on its own knowledge and

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 1   experience when determining a reasonable hourly rate for the services performed).

 2   Class Counsel also has extensive experience in class action litigation, as previously

 3   discussed.

 4         The declarations and other materials filed by Class Counsel show that their

 5   fees for work done on this case, if charged at current hourly rates, would come to

 6   nearly $2 million. See ECF Nos. 377; 378; 379. Using the roughly $2 million

 7   lodestar, Class Counsel’s requested award of 25% of the Settlement Fund results in

 8   a lodestar multiplier of 2.125. In common fund cases, multipliers ranging from

 9   one to four are frequently awarded. Vizcaino, 290 F.3d at 1051 n.6 (describing

10   range of multipliers in common fund cases). Because the lodestar multiplier is

11   well within the range of what the Ninth Circuit considers appropriate, the Court

12   finds that the requested attorneys’ fees appears reasonable in this case.

13         C. Litigation Costs

14         Class Counsel requests an award of costs in the amount of $208,245.67.

15   ECF No. 376 at 28. The itemized list of expenses provided by counsel supports a

16   conclusion that the expenses were reasonably incurred in prosecution of this

17   litigation and were reasonably necessary. See ECF Nos. 377 at 17-18; 378 at 16.

18   Class Counsel asserts that the costs are reasonable and were primarily incurred on

19   witness fees, provision of notice to the Class, and general litigation expenses,

20   including travel, disposition transcripts, photocopying, legal research, and mail.

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 1   See ECF No. 376 at 28. The Court finds that the requests for costs is reasonable

 2   and reflects necessary expenditures to obtain a favorable settlement.

 3         D. Special Master Fees

 4         The Court has thoroughly reviewed the Special Master’s detailed statement

 5   of time expended and services rendered and finds the rates and hours reasonable

 6   and fair. ECF No. 383. No objections have been made. Accordingly, Special

 7   Master Bruce Kriegman shall be paid $63,864.50 for fees and $1,191.65 for his

 8   reasonable costs from the Settlement Fund.

 9      III.   Class Representative Service Awards

10         The Court also preliminarily concludes that the compromised amount for the

11   class representative’s incentive award is reasonable. ECF No. 376 at 28-29.

12   “Incentive awards that are intended to compensate class representatives for work

13   undertaken on behalf of a class are fairly typical in class action cases.” Online

14   DVD-Rental, 779 F.3d at 943. Incentive awards are generally approved so long as

15   the awards are reasonable and do not undermine the adequacy of the class

16   representatives. Radcliffe v. Experian Info. Solutions, 715 F.3d 1157, 1164 (9th

17   Cir. 2013). In assessing the reasonableness of an incentive award, courts look to

18   the number of plaintiffs receiving incentive payments, the proportion of the

19   payments relative to the settlement amount, and the size of each payment. Online

20   DVD-Rental, 779 F.3d at 947.

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 1         Here, Ms. Jordan is the sole named plaintiff to receive an incentive payment.

 2   The requested incentive payment—$20,000—makes up roughly .12% of the total

 3   settlement award. Although the incentive payment is noticeably greater than the

 4   $1,033.51 median estimated award for all unnamed class members, Ms. Jordan has

 5   expended significant time and effort assisting class counsel in this case over the

 6   past six years. ECF No. 362 at 2-3. Ms. Jordan participated in responding to

 7   discovery, she was deposed by Defendant, and she prepared for both the December

 8   2017 and July 2018 trials. Id. Notably, in 2013, Ms. Jordan rejected a settlement

 9   offer from Defendant of $25,000 because it would have provided no relief to the

10   Class. Id. at 3, ¶6. The Court concludes that the requested incentive award of

11   $20,000 is reasonable.

12      IV.    Cy Pres Distribution

13         The parties’ proposed plan for distribution of the Settlement Fund provides

14   that any settlement funds still undisbursed after the second distribution to

15   Settlement Class Members shall be paid to the following cy pres recipients:

16   Northwest Justice Project and Parkview Services in essentially equal payments.

17   Cy pres distributions to those recipients further the objectives of the statutes on

18   which this suit was brought because they serve Washington homeowners facing

19   financial distress and mortgage default. Cy pres distributions to those recipients

20   will also account for Class Members’ interests, including their geographical

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 1   distribution, because both organizations serve Washington residents. The Court

 2   finds the cy pres distributions necessary, proper and reasonable, especially to

 3   account for the non-reversionary nature of the Settlement Fund.

 4   ACCORDINGLY, IT IS ORDERED:

 5         1.     Plaintiffs’ Motion for Order Granting Final Approval of Class Action

 6   Settlement (ECF No. 388) and Nationstar’s Joinder (ECF No. 393) are

 7   GRANTED.

 8         2.     The Court finds that Notice to the Settlement Class has been

 9   completed in conformity with the Preliminary Approval Order, was reasonably

10   calculated to provide actual notice to the class members and satisfies due process

11   and other applicable law. ECF No. 369.

12         3.     There has been one timely-filed objection to the settlement. ECF No.

13   389-6. That objection is OVERRULED.

14         4.     The terms set forth in the settlement are approved as being fair,

15   adequate, and reasonable in light of the degree of recovery obtained in relation to

16   the risks faced by the Settlement Class in litigating the claims. The Settlement

17   Class is properly certified as part of this settlement. The relief provided to the

18   Settlement Class under the settlement agreement is appropriate as to the individual

19   members of the Settlement Class and as a whole.

20

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 1         5.    The Class Administrator shall deduct and receive its fees and costs in

 2   full payment for its services, not to exceed $45,000 from the Settlement Fund.

 3         6.    Plaintiffs’ Motion for Order Granting Award of Attorneys’ Fees and

 4   Costs (ECF No. 376) and the Special Master’s Request for Approval of Payment of

 5   Fees and Costs (ECF No. 383) are GRANTED. The Court approves the payment

 6   of $4,250,000 in attorneys’ fees to Class Counsel as fair and reasonable. The

 7   Court approves the payment of $208,245.67 to Class Counsel as reimbursement for

 8   litigation costs. The Court approves the payment of $63,864.50 in fees and

 9   $1,191.65 in costs to Special Master Bruce Kreigman, both deducted from the

10   Settlement Fund.

11         7.    The Court approves the service award of $20,000 to Laura Zamora

12   Jordan as Class Representative.

13         8.    Four individuals have timely and properly excluded themselves from

14   the Settlement Class: Jack Grant, Kimberly Smack, Pamela Turner, and Richard

15   Rutkowski. ECF No. 389-5. Aside from those four identified individuals, all

16   members of the Settlement Class are bound by this Order.

17         9.    The parties’ proposed plan for distribution of settlement proceeds is

18   hereby approved. Each member of the Settlement Class shall be entitled to receive

19   an individual settlement share proportional to the calculated damages from the

20   remainder of the Settlement Fund as set forth in the Settlement Agreement. The

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 1   Court orders the parties to comply with and carry out all terms and provisions of

 2   the Settlement, to the extent that the terms do not contradict or conflict with this

 3   Order and Judgment, in which case the provisions of this Order and Judgment shall

 4   take precedence and supersede the Settlement.

 5         10.    After paying costs of notice and administration as set forth in

 6   paragraph 5 above and paying the sums set forth in paragraphs 6 and 7 above, the

 7   Class Administrator shall, within the time period set forth in paragraph III.4 of the

 8   Settlement Agreement, pay the funds remaining in the Settlement Fund to

 9   Settlement Class Members in the following amounts:

10            a. To each Settlement Class Member for whom the Class Administrator

11            has a deliverable address but there is no evidence of a Lock Change: a

12            payment of $75.

13            b. To each Settlement Class Member for whom the Class Administrator

14            has a deliverable address and there is evidence of a Lock Change: a pro

15            rata payment based on the rental value damage calculated by Plaintiff’s

16            expert in this matter using the following formula—RF x RVD/TRVD—

17            where RF is the remaining amount of settlement funds after payment of all

18            other amounts, RVD is the amount of rental value damages calculated for

19            the Class Member by Plaintiff’s expert, and TRVD is the total amount of

20            rental value damages calculated by Plaintiff’s expert for all Settlement

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 1            Class Members with evidence of a Lock Change and for whom the Class

 2            Administrator has a deliverable address, provided however that each Class

 3            Member shall receive a payment of at least $75.

 4         11.    The Settlement Administrator shall pay the following bankruptcy

 5   trustees the final calculated settlement amounts for administration and disbursal in

 6   bankruptcy court with respect to the following class members:

 7       BANKRUPTCY TRUSTEE             CLASS MEMBER            CASE NO.       EST.
                                                                            AMOUNT
 8
       Kathryn A. Ellis                 Scott Huntington        09-48196   $10,142.51
 9     5506 6th Ave. S., Suite 207
       Seattle, WA 98108
10
       Dennis Lee Burman               Dawna D. Grenell         14-16158   $19,405.82
11     P.O. Box 1620                    (and Mark D.
       Marysville, WA 98270                Grenell)
12
       Dennis Lee Burman              Douglas P. Schwartz       16-12104   $28,032.32
13     P.O. Box 1620
       Marysville, WA 98270
14     Edmund Wood                    Paul D. Nguyen (and       10-15805   $10,876.40
       303 N. 67th Street               Hong Thi Tran)
15     Seattle, WA 98103-5209
       Edmund Wood                     Joshua L. Witherell      11-15318   $13,954.25
16
       303 N. 67th Street
       Seattle, WA 98103-5209
17
       Michael P. Klein                   Marya Noyes           14-18298   $30,813.52
18     330 Madison Ave. S., Suite
       110
19     Bainbridge Island, WA
       98110
20

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 1       BANKRUPTCY TRUSTEE             CLASS MEMBER           CASE NO.        EST.
                                                                            AMOUNT
 2
       Nancy L. James                    Travis William        14-17258    $14,438.07
 3     15008 – 63rd Drive SE                 Griffin
       Snohomish, WA 98296
 4     Mark D. Waldron                     Jodi Asbun          14-45025    $17,395.25
       6711 Regents Blvd. W.,
 5     Suite B,
       Tacoma, WA 98466
 6     Mark D. Waldron                 Ismail Arslangiray      11-42290    $10,874.95
       6711 Regents Blvd. W.,
 7     Suite B,
       Tacoma, WA 98466
 8     Mark D. Waldron                     John Troy           14-42531    $22,560.29
       6711 Regents Blvd. W.,
 9     Suite B,
       Tacoma, WA 98466
10     Mark D. Waldron                  Karen Woodsum          14-40749    $18,366.85
       6711 Regents Blvd. W.,
11     Suite B,
       Tacoma, WA 98466
12

13         12.    If administratively feasible, the Class Administrator shall pay any
14   settlement funds that remain unclaimed (e.g., undeliverable, uncashed, etc.) to
15   Settlement Class Members (including bankruptcy trustees on behalf of class
16   members listed above) with evidence of a lock change and who cashed their
17   original settlement distribution check in amounts calculated by the following
18   formula: URF x CMP/TCCMP, where URF is the amount of unclaimed remaining
19   settlement funds, CMP is the amount paid to the Settlement Class Member in the
20

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 1   original distribution, and TCCMP is the total amount paid all Settlement Class

 2   Members in the Original distribution less the amount of the unclaimed payments.

 3         13.    The Class Administrator shall pay all settlement funds which remain

 4   unclaimed after the distributions ordered herein to the cy pres recipients: 50% to

 5   the Northwest Justice Project and 50% to Parkview Services.

 6         14.    Within 30 days after completing all payments, the Class Administrator

 7   shall file with the Court a declaration attesting to its compliance with the

 8   provisions of this Order and a final accounting for the distribution of the

 9   Settlement Fund.

10         15.    All Settlement Class Members are bound by the terms of the

11   Settlement Agreement. As of the Settlement Agreement’s effective date, the Class

12   Representative and all Settlement Class Members acknowledge full satisfaction of,

13   and fully, finally and forever release, settle and discharge the Released Parties of

14   and from all Settled Claims, as defined in the Settlement Agreement. The release

15   herein stated applies to claims that are presently unknown to the Class

16   Representative or a Settlement Class Member. The Class Representative and each

17   Settlement Class Member agree not to sue and to be forever barred from suing any

18   Released Party on any of the Settled Claims.

19         16.    Nothing in the settlement or this Order purports to extinguish or waive

20   Defendant’s rights to continue to oppose the merits of the claims in this action or

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 1   class treatment of these claims in this case if the settlement fails to become final or

 2   effective, or in any other case without limitation. The settlement is not an

 3   admission by Defendant, nor is this Order and Judgment a finding of the validity of

 4   any allegations against Defendant or any wrongdoing by Defendant.

 5         17.    The entry of this Order and Judgment of dismissal is without

 6   prejudice to the rights of the parties to enforce the terms of the Settlement

 7   Agreement. Without affecting the finality of this Order in any way, the Court

 8   retains jurisdiction over the claims against Defendant for purposes of resolving any

 9   disputes that may arise under the settlement agreement.

10         18.    The Clerk of Court shall enter Judgment dismissing this action with

11   prejudice, binding each Class Member who did not opt out to the terms of the

12   Settlement Agreement and Release and reserving jurisdiction in this Court over the

13   implementation of the Settlement Agreement and Release, including enforcement

14   and administration of that Agreement.

15         The District Court Executive is directed to enter this Order and Judgment

16   accordingly, provide copies to counsel and CLOSE the file.

17         DATED May 2, 2019.

18

19                                   THOMAS O. RICE
                              Chief United States District Judge
20

        ORDER GRANTING FINAL APPROVAL OF CLASS ACTION
        SETTLEMENT AND GRANTING MOTION FOR AWARD OF
        ATTORNEYS’ FEES AND COSTS ~ 34
